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05

06                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
07                                        AT SEATTLE

08
     UNITED STATES OF AMERICA,            )
09                                        )
                 Plaintiff,               )              Case No. CR08-244-RSL
10                                        )
           v.                             )
11                                        )
     JEREMY SNOW,                         )              DETENTION ORDER
12                                        )
                 Defendant.               )
13   ____________________________________ )

14
     Offense charged:
15

16             COUNT 1:       Conspiracy to Possess With Intent to Distribute Controlled Substances,
                              in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(B) and
17                            846

18
     Date of Detention Hearing:      April 9, 2009
19
               The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
20
     based upon the factual findings and statement of reasons for detention hereafter set forth,
21
     finds:
22
              FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
               (1)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
24
                      defendant is a flight risk and a danger to the community based on the nature of
25
                      the pending charges. Application of the presumption is appropriate in this
26
                      case.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01          (2)     Defendant is a Canadian citizen.

02          (3)     Defendant has stipulated to his continued detention, but reserves the right to

03                  contest his continued detention if there is a change in circumstances.

04          (3)     There are no conditions or combination of conditions other than detention that

05                  will reasonably assure the appearance of defendant as required or ensure the

06                  safety of the community.

07          IT IS THEREFORE ORDERED:

08          (1)     Defendant shall be detained pending trial and committed to the custody of the

09 Attorney General for confinement in a correctional facility separate, to the extent practicable,

10 from persons awaiting or serving sentences or being held in custody pending appeal;

11          (2)     Defendant shall be afforded reasonable opportunity for private consultation

12 with counsel;

13          (3)     On order of a court of the United States or on request of an attorney for the

14 government, the person in charge of the corrections facility in which defendant is confined

15 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

16 connection with a court proceeding; and

17          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

18 counsel for the defendant, to the United States Marshal, and to the United States Pretrial

19 Services Officer.

20          DATED this 9th day of April, 2009.

21

22
                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
23

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     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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